Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 1 of 83 PageID #: 418




                              Exhibit 1
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 2 of 83 PageID #: 419
                                                                                    U.S. Department of Justice




                                                                                   Federal Bureau of Investigation
                                                                                   Washington, D.C. 20535

                                                                                   April 23, 2021

 Mr. Brian Huddleston
 c/o Mr. Ty O. Clevenger
 Post Office Box 20753
 Brooklyn, NY 11202-0753


                                                               FOIPA Request Nos.: 1465531-000
                                                               Subject: Seth Rich (January 1, 2016 to present)

                                                               Brian Huddleston v. Federal Bureau of
                                                               Investigation, et al
                                                               Civil Action No.: 20-cv-00447

 Dear Mr. Huddleston:

          The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
 United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
 which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
 appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
 information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
 applied. The checked exemption boxes used to withhold information are further explained in the enclosed
 Explanation of Exemptions.


                             Section 552                                      Section 552a
             (b)(1)                                (b)(7)(A)                    (d)(5)
             (b)(2)                                (b)(7)(B)                     (j)(2)
             (b)(3)                                (b)(7)(C)                     (k)(1)
          50 USC § 3024(i)(1)                      (b)(7)(D)                     (k)(2)
          Federal Rules of Criminal                (b)(7)(E)                     (k)(3)
          Procedure 6 (e)
                                                   (b)(7)(F)                     (k)(4)
             (b)(4)                                (b)(8)                        (k)(5)

             (b)(5)                                (b)(9)                        (k)(6)
             (b)(6)                                                              (k)(7)

         576 pages were reviewed and 68 pages are being released.

         Please see the paragraphs below for relevant information specific to your request as well as the enclosed
 FBI FOIPA Addendum for standard responses applicable to all requests.

             Document(s) were located which originated with, or contained information concerning, other
             Government Agency (ies) [OGA].

                 This information has been referred to the OGA(s) for review and direct response to you.
                 We are consulting with another agency. The FBI will correspond with you regarding this information
                 when the consultation is completed.
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 3 of 83 PageID #: 420
          Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
 request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
 additional standard responses that apply to all requests for records about yourself or any third party individuals.
 “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
 of Exemptions.

         For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
 The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
 correspondence concerning your request.

         Although your request is in litigation, we are required by law to provide you the following information:

           If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
 you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
 Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
 OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
 https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
 transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
 both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
 FOIPA Request Number assigned to your request so it may be easily identified.

           You may seek dispute resolution services by contacting the Office of Government Information Services
 (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
 Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
 ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
 you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
 resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
 also cite the FOIPA Request Number assigned to your request so it may be easily identified.

         Please direct any further inquiries about this case to the Attorney representing the Government in this
 matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
 concerning your request.


                See additional information which follows.



                                                                  Sincerely,


                                                                  Michael G. Seidel
                                                                  Section Chief
                                                                  Record/Information
                                                                     Dissemination Section
                                                                  Information Management Division
 Enclosure(s)

                 In response to your Freedom of Information Act (FOIA) request and subsequent civil action case
 pending in the U.S. District Court for the Eastern District of Texas, enclosed is one (1) compact disc representing the
 FBI’s 1st Interim release of information concerning records Bates Stamped FBI (20-cv-00447)-1 through FBI (20-cv-
 00447)-576.
                 These pages were located in cross-reference files as described below. No “main” investigative files
 pertaining to the subject of your request were located.

                Cross-references are defined as mentions of the subject of your request in files to other individuals,
 organizations, events, or activities. In processing the cross-references, the pages considered for possible release
 included only those pages which mention the subject of your request and any additional pages showing the context in
 which the subject of your request was mentioned. The cross-references were processed pursuant to the provisions
 of the FOIA and are being released to you in redacted form.

                  FBI (20-cv-00447)-422 represents a compact disc wherein all of the contents thereof is being withheld
 in its entirety pursuant to FOIA Exemptions (b)(6), (b)(7)(C), (b)(7)(D) and (b)(7)(E).
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 4 of 83 PageID #: 421
               For your information, sealed court records are not eligible for release under the Freedom of Information
 Act. Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate
 orders issued by federal district courts.

               Duplicate copies of the same document were not processed.
            Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 5 of 83 PageID #: 422


                                                          FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)        5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
               requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
               of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)       Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
               can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
               requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
               acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
               (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
               3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)        Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
               any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
               552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
               do not exist.

    (ii)       Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
               nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
               exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
               response and should not be read to indicate that such records do or do not exist.

    (iii)      Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
               which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
               FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
               This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)        Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
               searching systems or locations where responsive records would reasonably be found. A standard search normally
               consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
               applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
               enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
               FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
               records are included in the CRS. Unless specifically requested, a standard search does not include references,
               administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
               searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)       FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
               dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
               every person, subject, or entity.

    (iii)      Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
               provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
               history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
               listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
               employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
               Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
               Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
               CJIS directly at (304) 625-5590.

    (iv)       National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to name
               check requests received from federal agencies, for the purpose of protecting the United States from foreign and domestic
               threats to national security. Please be advised that this is a service provided to other federal agencies. Private Citizens
               cannot request a name check.
         Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 6 of 83 PageID #: 423

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 7 of 83 PageID #: 424
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 8 of 83 PageID #: 425




  38                                   Duplicate to 115 (1 page)


  39                                   Duplicate to 116 (1 page)


  40-41                                Duplicate to 117-118 (2 pages)


  42-43                                Duplicate to 119-120 (2 pages)


  44-45                                b6-2; b7C-2; b7E-6; (2 pages)


  46                                   b7E-6; (1 page)


  47-49                                b6-2; b7C-2; b7E-6; (3 pages)


  50                                   b7E-6; (1 page)


  51-53                                b6-2; b7C-2; b7E-6; (3 pages)


  54                                   b7E-6; (1 page)


  55-57                                b6-2; b7C-2; b7E-6; (3 pages)


  58                                   b7E-6; (1 page)


  59-61                                b6-2; b7C-2; b7E-6; (3 pages)


  62                                   b7E-6; (1 page)


  63-64                                b6-2; b7C-2; b7E-6; (2 pages)


  65                                   b7E-6; (1 page)


  66-67                                b6-2; b7C-2; b7E-6; (2 pages)


  68                                   b7E-6; (1 page)


  69-70                                b6-2; b7C-2; b7E-6; (2 pages)


  71                                   b7E-6; (1 page)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 9 of 83 PageID #: 426




  72-73                                b6-2; b7C-2; b7E-6; (2 pages)


  74                                   b7E-6; (1 page)


  75                                   b6-2; b7C-2; b7E-6; (1 page)


  78                                   b1-1; b3-1; b6-4; b7C-4; b7D-3;
                                       b7E-2,-4,-6; (1 page)

  79                                   b6-2; b7C-2; b7E-6; (1 page)


  80                                   b7E-6; (1 page)


  81                                   b7E-6; (1 page)


  82                                   b3-2; b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed (1 page)

  83                                   b3-2; Other-Sealed; (1 page)


  84                                   b3-2; b6-3; b7C-3; b7E-6; Other-
                                       Sealed (1 page)

  85                                   b3-2; b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed; (1 page)

  86-87                                b3-2; b6-1,-3; b7C-1,-3; b7E-6;
                                       Other-Sealed; (2 pages)

  88                                   b3-2; b6-3; b7C-3; b7E-6; Other-
                                       Sealed; (1 page)

  89-90                                Duplicate to 83-84 (2 pages)


  91                                   b3-2; b7E-6; Other-Sealed; (1
                                       page)

  92                                   b1-1; b3-1; b6-1; b7C-1; b7E-1,-
                                       2,-4,-7; (1 page)

  93                                   b1-1; b3-3; b7E-2,-7; (1 page)


  94-96                                b3-1; b7E-7; (3 pages)


  98                                   b7E-6; (1 page)


  99-100                               b7E-6; (2 pages)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 10 of 83 PageID #: 427




  102                                  b3-2; b6-2-3; b7C-2-3; b7E-6; (1
                                       page)

  103-105                              b3-2; b6-2; b7C-2; b7E-6; (3
                                       pages)

  107                                  b6-1; b7C-1, b7E-2,-6; (1 page


  108-109                              b6-3; b7C-3; b7E-6; (2 pages)


  110                                  b6-1-2; b7C-1,-2; b7E-1,-2,-4,-6;
                                       (1 page)

  111                                  b7E-2,-6; (1 page)


  112-113                              b7E-6; (2 pages)


  115-120                              b7E-6; (6 pages)


  121                                  b6-1; b7C-1; b7E-1,-2,-4,-6; (1
                                       page)

  122                                  b6-1,-2; b7C-1,-2; b7E-6; Other-
                                       Sealed; (1 page)

  123-128                              b6-1; b7C-1; b7E-6; Other-Sealed;
                                       (6 pages)

  129-142                              b7E-6; (14 pages)


  143                                  b6-2; b7C-2; b7E-6; (1 page)


  144                                  b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed; (1 page)

  145                                  b6-2,-3; b7C-2,-3; b7E-6; Other-
                                       Sealed; (1 page)

  146                                  b6-3; b7C-3; b7E-6; Other-Sealed;
                                       (1 page)

  147                                  b6-2,-3; b7E-2,-3; b7E-6; Other-
                                       Sealed; (1 page)

  152                                  b5-1; b6-1; b7C-1; b7E-6; (1 page)


  153                                  b5-1; b6-2; b7C-2; (1 page)


  154-155                              b5-1; b6-3; b7C-3; (2 pages)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 11 of 83 PageID #: 428




  156                                  b6-3; b7C-3; (1 page)


  162-163                              b3-1; b6-3; b7A-1; b7C-3; b7E-2;
                                       (2 pages)

  166                                  b3-2; (1 page)


  168-170                              b3-2; b6-2,-3; b7A-1; b7C-2,-3; (3
                                       pages)

  171                                  b3-2; b7A-1; (1 page)


  172-173                              b3-2; b6-2,-3; b7A-1; b7C-2,-3; (2
                                       pages)

  174                                  b3-2; b6-3; b7A-1; b7C-3; (1 page)


  175-176                              b3-2; b6-2,-3; b7A-1; b7C-2,-3; (2
                                       pages)

  177                                  b3-2; b7A-1; (1 page)


  178-180                              b3-2; b6-2,-3; b7A-1; b7C-2,-3; (3
                                       pages)

  181                                  b3-2; b7A-1; (1 page)


  182                                  b3-2; b6-2,-3; b7A-1; b7C-2,-3; (1
                                       page)

  183-184                              b3-2; b6-3; b7A-1; b7C-3; (2
                                       pages)

  186                                  b3-2; b6-3; b7A-1; b7C-3; (1 page)


  187-188                              b3-2; b7A-1; (2 pages)


  189-193                              b3-2; b6-2,-3; b7A-1; b7C-2,-3; (5
                                       pages)

  195                                  b3-2; b6-1,-3; b7A-1, b7C-1,-3;
                                       b7E-6; (1 page)

  197                                  b3-2; b6-1; b7C-1; b7E-2,-6; (1
                                       page)

  199                                  b3-2; b6-2; b7C-2; b7E-2,-6; (1
                                       page)

  200-201                              b3-2; b6-2; b7C-2; b7E-6; (2
                                       pages)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 12 of 83 PageID #: 429




  202                                  b3-2; b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed; (1 page)

  203                                  b3-2; Other-Sealed; (1 page)


  204                                  b3-2; b6-3; b7C-3; b7E-6; Other-
                                       Sealed;(1 page)

  205                                  b3-2; b6-1,-2,-3; b7C-1,-2,-3;
                                       b7E-6; Other-Sealed; (1 page)

  206-214                              b3-2; b7E-6; Other-Sealed; (9
                                       pages)

  215-220                              b3-2; b6-3; b7E-3; b7E-6; Other-
                                       Sealed; (6 pages)

  221-265                              b3-2; b7E-6; Other-Sealed;(45
                                       pages)

  266                                  b3-2; b6-3; b7E-3, b7E-6; Other-
                                       Sealed;(1 page)

  267-273                              b3-2; b7E-6; Other-Sealed; (7
                                       pages)

  274                                  b3-2; b6-2; b7C-2; b7E-6; Other-
                                       Sealed; (1 page)

  275                                  b3-2; b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed; (1 page)

  276                                  b3-2; Other-Sealed; (1 page)


  277                                  b3-2; b6-3; b7C-3; b7E-6; Other-
                                       Sealed; (1 page)

  278                                  b3-2; b6-3; b7C-3; b7E-1,-6;
                                       Other-Sealed; (1 page)

  279-280                              b3-2; b7E-6; Other-Sealed: (2
                                       pages)

  284-286                              b6-2; b7C-2; b7E-6; (3 pages)


  287-290                              b7E-6; (4 pages)


  291                                  b6-2; b7C-2; b7E-6; (1 page)


  292-294                              b7E-6; (3 pages)


  295-297                              b6-2; b7C-2; b7E-6; (3 pages)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 13 of 83 PageID #: 430




  298-301                              b7E-6; (4 pages)


  302                                  b6-2; b7C-2; b7E-6; (1 page)


  303-305                              b7E-6; (3 pages)


  307                                  b5-1; b6-2,-3; b7C-2,-3; (1 page)


  308                                  b5-1; b6-3; b7C-3; (1 page


  312-313                              Duplicate to 307-308 (2 pages)


  314-315                              Duplicate to 309-310 (2 pages)


  318-319                              b5-1; b6-3; b7C-3; (2 pages)


  320-321                              b6-3; b7C-3 (2 pages)


  322-323                              b6-3; b7C-3 (2 pages)


  327                                  b6-3; b7C-3; b7E-2,-6; (1 page)


  328-330                              b6-3; b7C-3; b7E-6; (3 pages)


  331                                  b6-1,-3; b7C-1,-3; b7E-2,-6;
                                       Other-Sealed; (1 page)

  332-333                              Other-Sealed; (2 pages)


  334-336                              b6-2; b7C-2; b7E-6; Other-Sealed;
                                       (3 pages)

  337                                  b7E-6; Other-Sealed; (1 page)


  338                                  b6-2; b7C-2; b7E-6; Other-Sealed;
                                       (1 page)

  339                                  b6-2; b7C-2; b7E-6; Other-Sealed;
                                       (1 page)

  340-341                              Other-Sealed (2 pages)


  342-393                              b6-2; b7C-2; b7E-6; Other-Sealed;
                                       (52 pages)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 14 of 83 PageID #: 431




  394-395                              b6-1; b7C-1; b7E-2; Other-Sealed;
                                       (2 pages)

  396-397                              b6-2; b7C-2; b7E-6; Other-Sealed:
                                       (2 pages)

  400                                  b5-1; b6-1,-3; b7C-1,-3; (1 page)


  401                                  b5-1; b6-3; b7C-3; (1 page)


  404                                  b6-3; b7C-3; b7E-6; (1 page)


  408-410                              b6-2,-4; b7C-2,-4; b7D-3; (3
                                       pages)

  411-415                              b6-4; b7C-4; b7D-3; (5 pages)


  416                                  b6-1,-4; b7C-1,-4; b7D-3; b7E-2;
                                       (1 page)

  417                                  b6-1; b7C-1; b7D-3; b7E-2,-4; (1
                                       page)

  418                                  b6-5; b7C-5; b7D-3; (1 page


  419                                  b6-4; b7C-4; b7D-3; (1 page)


  420-421                              b5-per EOUSA; b6-per EOUSA; b7C-
                                       per EOUSA (2 pages)

  422                                  b6-2; b7C-2; b7D-3; b7E-6; (1
                                       compact disc)

  427                                  b6-2,-4; b7C-2,-4; b7E-6; (1 page)


  429                                  b6-2,-4; b7C-2,-4; b7E-6; (1 page)


  434-436                              Duplicate to 427-429 (3 pages)


  440                                  b5-1; b6-2,-3; b7C-1,-3; (1 page)


  441                                  b5-1; b6-3; b7C-3; (1 page)


  442                                  b5-1; b6-1,-3; b7C-1,-3; b7E-2; (1
                                       page)

  443                                  b5-1; b6-3; b7C-3; b7E-2; (1 page)
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 15 of 83 PageID #: 432




  447-464                              b6-3; b7C-3; b7E-6; (18 pages)


  465-467                              b7E-6; (3 pages)


  468-478                              b6-3; b7C-3; b7E-6; (11 pages)


  479                                  b7E-6; (1 page)


  480                                  b6-3; b7C-3; b7E-6; (1 page)


  481-483                              b7E-6; (3 pages)


  484-487                              b6-3; b7C-3; b7E-6; (4 pages)


  488-489                              b7E-6; (2 pages)


  490                                  b6-3; b7C-3; b7E-6; (1 page)


  491-492                              b7E-6; (2 pages)


  493-509                              b6-3; b7C-3; b7E-6; (17 pages)


  510-513                              b7E-6; (4 pages)


  514-520                              b6-3; b7C-3; b7E-6; (7 pages)


  521-529                              b7E-6; (9 pages)


  530-532                              b6-3; b7C-3; b7E-6; (3 pages)


  533                                  b7E-6; (1 page)


  534                                  b6-3; b7C-3; b7E-6; (1 page)


  535-576                              b7E-6; (42 pages)



                                                    XXXXXXXXXXXXXXXXXXXXXXX
                                                    X Deleted Page(s)     X
                                                    X No Duplication Fee X
                                                    X For this Page       X
                                                    XXXXXXXXXXXXXXXXXXXXXXX
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 16 of 83 PageID #: 433
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 17 of 83 PageID #: 434
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 18 of 83 PageID #: 435
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 19 of 83 PageID #: 436
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 20 of 83 PageID #: 437
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 21 of 83 PageID #: 438
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 22 of 83 PageID #: 439
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 23 of 83 PageID #: 440
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 24 of 83 PageID #: 441
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 25 of 83 PageID #: 442
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 26 of 83 PageID #: 443
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 27 of 83 PageID #: 444
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 28 of 83 PageID #: 445
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 29 of 83 PageID #: 446
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 30 of 83 PageID #: 447
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 31 of 83 PageID #: 448
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 32 of 83 PageID #: 449
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 33 of 83 PageID #: 450
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 34 of 83 PageID #: 451
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 35 of 83 PageID #: 452
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 36 of 83 PageID #: 453
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 37 of 83 PageID #: 454
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 38 of 83 PageID #: 455
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 39 of 83 PageID #: 456
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 40 of 83 PageID #: 457
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 41 of 83 PageID #: 458
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 42 of 83 PageID #: 459
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 43 of 83 PageID #: 460
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 44 of 83 PageID #: 461
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 45 of 83 PageID #: 462
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 46 of 83 PageID #: 463
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 47 of 83 PageID #: 464
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 48 of 83 PageID #: 465
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 49 of 83 PageID #: 466
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 50 of 83 PageID #: 467
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 51 of 83 PageID #: 468
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 52 of 83 PageID #: 469
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 53 of 83 PageID #: 470
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 54 of 83 PageID #: 471
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 55 of 83 PageID #: 472
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 56 of 83 PageID #: 473
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 57 of 83 PageID #: 474
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 58 of 83 PageID #: 475
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 59 of 83 PageID #: 476
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 60 of 83 PageID #: 477
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 61 of 83 PageID #: 478
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 62 of 83 PageID #: 479
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 63 of 83 PageID #: 480
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 64 of 83 PageID #: 481
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 65 of 83 PageID #: 482
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 66 of 83 PageID #: 483
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 67 of 83 PageID #: 484
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 68 of 83 PageID #: 485
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 69 of 83 PageID #: 486
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 70 of 83 PageID #: 487
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 71 of 83 PageID #: 488
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 72 of 83 PageID #: 489
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 73 of 83 PageID #: 490
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 74 of 83 PageID #: 491
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 75 of 83 PageID #: 492
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 76 of 83 PageID #: 493
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 77 of 83 PageID #: 494
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 78 of 83 PageID #: 495
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 79 of 83 PageID #: 496
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 80 of 83 PageID #: 497
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 81 of 83 PageID #: 498
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 82 of 83 PageID #: 499
Case 4:20-cv-00447-ALM Document 26-1 Filed 06/14/21 Page 83 of 83 PageID #: 500
